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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
                                          ***


UNITED STATES OF AMERICA,

                Plaintiff,                              02:07-CR-00080-CRW

v.
                                                                ORDER
MICHAEL JENKINS,

               Defendant.

               On December 20, 2011, the United States Court of Appeals for the Ninth Circuit

affirmed the judgment that included a prison sentence for defendant Michael Jenkins.

               This court allowed Mr. Jenkins to self-report to a federal corrections center

designated by the Federal Bureau of Prisons not more than thirty days after his appeal was

denied unless the court or the Bureau of Prisons extends the time for him to self-report.

               Mr. Jenkins must self-report by January 20, 2012 at 2:00 p.m. If defendant has

any questions about where or when he should report, he should contact his probation officer or

the United States Marshals Service in Las Vegas, Nevada.

               IT IS SO ORDERED.

               Dated this 11th day of January, 2012.
